           Case 2:12-cr-00118-JAD-VCF          Document 67       Filed 04/24/13    Page 1 of 2




 1                                      UNITED STATES DISTRICT COURT

 2                                          DISTRICT OF NEVADA

 3                                                    ***

 4

 5   UNITED STATES OF AMERICA

 6                         Plaintiff,                    2:12-cr-00118-GMN-VCF

 7   vs.                                                 ORDER

 8   MICHAEL CHARLES GARCIA, et al.,
                                                         [Defendant’s Emergency Motion to Withdraw
 9                         Defendant.                    (#66)]
10

11            Before the Court is Defendant’s Emergency Motion to Withdraw (#66). Defendant’s counsel, C.

12   Stanley Hunterton seeks to withdraw as counsel of record.    Mr. Hunterton was appointed to represent

13   Defendant on November 28, 2012. (#50). Mr. Hunterton states that Defendant’s mother, Katrina

14   Garcia, wrote to Judge Navarro asserting that Mr. Hunterton had breached his fiduciary duty to her son

15   and committed acts to cause Defendant to be found guilty of conspiracy. (#66). On April 18, 2013,

16   before the arraignment and plea, Defendant Garcia wrote a letter to Mr. Hunterson stating that, “I hope

17   that whatever you got from the Government as your reward for betraying me was worth it . . . Please be

18   advised that I no longer want your representation.” Id. Trial is scheduled for August 6, 2013. (#64).

19   The Court entered an Order requiring all pre-trial motions and notices of defenses by May 19, 2013.

20   (#65).

21            IT IS HEREBY ORDERED that Defendant’s Emergency Motion to Withdraw (#66) is

22   GRANTED.

23   ///

24   ///

25   ///
     Case 2:12-cr-00118-JAD-VCF         Document 67        Filed 04/24/13      Page 2 of 2




 1    This matter is referred to the CJA panel attorney administrator to appoint counsel.

 2    DATED this 24th day of April, 2013.

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 5                                                         CAM FERENBACH
                                                           UNITED STATES MAGISTRATE JUDGE
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